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                               BACKGROU ND O F INVD STTGAT ION

I ) Your Affiant knows from tl?ining and experierce lhxl computer uscls can inslall publicly
avilil{ble softwiu€ thirt accesses a network kflowlt lls li?dfl?t Fr4d,?.,r is a distfibuted, hlemel based.
peer-to-peer network which lets a user anonymously shart files 0nd chat on foIums. Fre€n€l is free
softwarc and dre sourcc code is publicly available. Commrnications belNeen computers running
Frz",l?,, or nodes, ffc encryplod and rouled llrougl other Frsrrl/ nodes making it diflicull to
deternrino who is rcqucsti[g thc inlbrmarior and what thc content is of the intbroration bcin8
requested. fireaet plovid€s a platform for message forunrs and Frd.,rr'r.'s, websites only available
through Frcenet.

2) Your Atfiant knows trom lraining and experiorcc rhnt files, or pIU1s offlles, are storod jrl Fr?er?r
usirg a kcy crcated fmm a compressed digiral rcprescntation medod callcd SecuE Hash Algorithm
Version 256 or SHA256.

3) Your Affiant knows fmnr lraining and cxperience thal Frdeldt bresks a file iDto snull picccs, or
block$. each wilh thcir own unique key based on this SHA256 value. Th€se small blocks {rE then
distributed llcmss Frcsne, us€rs, or nodes, and stored in disk space provided by c^ch user lo Frs?n"r.
No onc user has lhe entire intact filc. Thc kcys to all ofthc parts of a file ,re found in a high lcvcl
index block. or manitest.

4) Your Aftiant knows ftonr training and experience that htemet computers idenlify each olher by
an Intcrnct Pro(ocol or [P address. Your Affi.mt knows lhat these IP ddresses can assist hw
enforcement in fhding the location ofa partictlliu computcr on thc Intemet, Thcsc IP addrcsses lead
th.law enforcement olTicerto a particular lntcrnet service pmvider or compeoy (lSP). Give[ the
date and lime lhe lP address was used, an ISP can typicxlly identity the accou holder by name and
physical irddress.

5) Your Affiant knows from lraininE and cxperience that I compuler running l)"?rrd, \n'ill rcceive
rcqucsts lmm odlcr computers running Fr"2.ra, conraining rhc key ofa part of a file to retricvD f.om
that nodc s data slore. or to forward to anothcr userthat may have lhat pan ofthe file.

6) Your Afflanl kDows from lraining and experience thrl Fre"r?l',r attcmpl to hide $hat x uscr i\
requesting fmm the [etwork has attracled persons that wish to collect and/orsharc child
pomognrphy files- Freener is not a significant source of nrusic, aduh pornognrphy, th€at cal movies
or other copyright ,naterial.

7) Your Alfiantknows tnrm training and experience thal Frea,lel users coonect lo olher sers,
unknown lo them. or peers. They then send requests to these peeni for the blocks offiles they are
attemptirlg to download.

8) YouI Alfiant knows lionr raining and experience that the rsluests Ihat a userofFr?e ?, sends to
a p€er conhin only fte key for the block oi dara and not the encryprion password to malc Oe dau
readablc. A user rclies on rhc inabilify ofa peer to decryfl a block of data or know what filc
contflirs this block lo hide his use oftfie Fruendt network to obtain child pornography files.




                                                   I                                                              EXHIBIT

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        SPECIFICS OF SEARCHES AND SEIZURES OF COMPAIER SYSTEMS
1) Your Affianl knows from lr.li[ing and experience that searches and seizurcs ofevidencc from
computers nnd olhcr Inlemet access devices require law enforcemcnt agents to scize mosr or all
eleckonic items (hardwa,e, software, passwords. and insfiuctions) dl the specified prcmises, to be
analyzed later by a qnalified digilal evidence specialist in a controlled en'!,ironmcnt Digilal stomgs
media may inchrdc but is nol limil!.d to floppy disks, hard drives, lapes, DVD disks, CD-ROM disks,
or other magnetic, optical, or m€chaoical storage which can be accessed by compute$ or o&er
electronic devices to store or retrieve data or images ofchild pornogmphy, which can store the
equivalenr of thousands ofpages of information. UseN may store information or images in random



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idcntifi carioD dmun)cnl\

 l0) Your Affiant knows flom tminil1g and experience th&t search q,armnts of prcmises usually
rcveal itens lhilt lcnd to show donrinion and colllrol oftheprope y scarched, to incl de utility bil,s.
tclephone bills, colrespondence, reqhl agreemerls, and other identificatior docunrents.

 I l) The starcnrents conrained in lhis affidavit are based on this afliant's personal knowledge and
information providcd by other law c[lbrcement ol-liceni. Since lhis alfidavir is beinS submilted for
lhe lilnited pur?osc of securins fl search \rar.arl. this affiant has rol included each ald eyery fact
knowD to this Alfirnt concerning this investig:rtion.



                            DEFINITIONS USED li\i TITIS AFFIDAVIT

l) Intemet Prolocol (lP) addrcss
       An lP venjion 4 (IPv4) address is a 32-bit number lhat uniquely identifies a host connected to
       lhe Intemct. An lP address is express€d in 'llotted decimal" fonnat, consisting of the decimlll
       value (0-255) of irs four bytes, separarcd with pcriods', rn cxample IPv4 addrcss rs
       201 .32.187.12. lP version 6 ([Pv6) addresscs arc 128 bits in lcogth.
2) Node
       A computeron the Interncl running the Jt e4nc, softrvare,
3) Manifest
       The highcst levelrEcord in l'rdael. It is pointed to ty thc mmitlst key and contains keys, or
       pointers lo keys,lor the blocki ofrhe filc. It also includcs nctadara about the filc such &s its
       size, hash valucs. ,nd compression- May contain the entirc tilc ifit is less rhan 32kb.
4) Key
       One of thc types of ftlue$ used on f'rd(r(r to rettrencc file manifests, blocks, or web pag$.
-5) Block or Split
       A 32KB block of dah that mrkes up a filc. These are referenced with the SHA256 hash of
       fiD block.
6) Freesite
       A uebsite within Freen(r. Only accessible usirg the Frs?rel intcrface.
7) Darkrvcb or Dccpweb
       Teins to describe netuol ks and Inlemet use thilt is not obvious or accessible by the causal
       user. Most PzP and anonymous netwo*s fall into this catcgory.
8) Daustore
       The disk storage contributcd to Freenet to store data blocks. This storage is usql by the
       Freenct nelwork aJrd does not contain User data.
9) SHAI. SHA256
       SHA I AND SHA256 are part of a set of cryptographic hash functions designcd by thc U.S.
       Nation{l Security Agency (NSA) and published in 2001 by th. NIST as a U.S. Federal
       Informrtion Processing Standard (FIPS). Cryptographic hash fundions are a kind of
       algorithm or mathematical opemrion nrn on digital dala, and by comparing rhe resulr (hash)
       ofthe cxecution of thc algorirhm to a known and exp€ctcd hash value, a pcrson call
       dete rinc thc d{ta's aothenlicity. An exanrple is running a hash on downloaded softwsre and
       comparing thc result lo rhe der.eloper's published hash rciult, to see ifthe sofiware is



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